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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                       Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                         MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 JACK SWEAT
 Civil Case #1:20-cv-529


                           NOTICE OF SUGGESTION OF DEATH

       Undersigned counsel, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure,

hereby informs the Honorable Court of the death of Plaintiff Jack Sweat.




Respectfully submitted July 21, 2022.


                                                           /s/ Rhett A. McSweeney
                                                           Rhett A. McSweeney, #269542
                                                           David M. Langevin, #329563
                                                           McSweeney/Langevin
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                                                           Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true copy of the attached document was served upon each attorney

of record through the Court’s Electronic Court Filing System.


Dated: July 21, 2022
                                                    /s/ Rhett A. McSweeney
                                                    Rhett A. McSweeney




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